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       In this case, Plaintiff Garland Creedle alleges that, while he was in Miami-Dade County’s custody
   on local charges for a domestic dispute, a Deportation Officer with United States Immigration and
   Customs Enforcement (“ICE”) sent an immigration detainer to Miami-Dade County which (1)
   averred that there was probable cause that Mr. Creedle was a removable alien and, based on that fact,
   (2) requested that Miami-Dade County maintain custody of Mr. Creedle on the federal government’s
   behalf for a period not to exceed 48 hours in order to allow ICE to assume custody. See D.E. 1 at 28.
   Mr. Creedle claims that Miami-Dade County’s cooperation with that request violated his rights under
   the Fourth and Fourteenth Amendment because, unknown to Miami-Dade County and contrary to
   the representation provided by ICE, he is actually a U.S. citizen. See id. at ¶ 1.
       Notwithstanding the fact that these allegations, if true, identify the federal government as the sole
   cause of any claimed injury, Mr. Creedle chose not to bring any cause of action against the purportedly
   mistaken federal official or the United States. Instead, he has exclusively sued Miami-Dade County
   under the theory that a county policy—and not a federal misidentification—caused his injury. Miami-
   Dade County, however, does not now and has never had a policy or practice of knowingly detaining
   United States citizens at the request of federal immigration officers. On the contrary, Miami-Dade
   County’s only policy—even under the Complaint’s own allegations—is to provide the federal




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   government with cooperation on federal immigration detainers directed at removable aliens to the
   extent permissible by law and upon a showing of probable cause.
       Simply put, these allegations, even if assumed to be true, provide Mr. Creedle with nothing more
   than a potential tort claim against the official who issued the immigration detainer. But, because Mr.
   Creedle is attempting to use this suit as a Trojan horse to mount an improper collateral attack on a
   policy that was not and could not be the moving force behind his alleged injury, he has sued the wrong
   parties, asserted the wrong claims, and requested the wrong relief.
       Mr. Creedle’s attempt to use the federal government’s isolated misidentification as a vehicle to
   challenge Miami-Dade County’s policy has led to several fatal errors in his Complaint. First, Mr.
   Creedle is foreclosed from seeking declaratory relief because he has no live controversy. Second, there
   can be no municipal liability under 42 U.S.C. § 1983 because an official policy that is authorized by
   law and that, on its face, requires compliance with the law cannot be the moving force and proximate
   cause of a constitutional violation. Third, the cooperation provided by Miami-Dade County is
   expressly allowed under both federal and Florida law and thus occurs under color of authority. Fourth,
   Mr. Creedle cannot advance this suit in the absence of required parties (i.e., the federal official who
   made the probable cause representation and the federal government who sought the County’s
   cooperation). And fifth, Mr. Creedle cannot maintain the fiction that this action is a suit against two
   defendants when it is well-established that those defendants are one and the same.




       “The Government of the United States has broad, undoubted power over the subject of
   immigration and the status of aliens.” Arizona v. United States, 567 U.S. 387, 394 (2012). In the exercise
   of that power, Congress has granted the Department of Homeland Security (“DHS”) the authority to
   arrest aliens and detain aliens prior to removal. See, e.g., 8 U.S.C. §§ 1226, 1231, 1357.1 And, in
   recognition of the fact that “[c]onsultation between federal and state officials is an important feature
   of the immigration system,” Arizona, 567 U.S. at 411, Congress has also authorized state and local
   governments to “cooperate with [DHS] in the identification, apprehension, detention, or removal of
   aliens not lawfully present in the United States.” 8 U.S.C. § 1357(g)(10). See also 8 U.S.C. § 1252c
   (authorizing state and local officials to arrest certain felons who have unlawfully returned to the United


   1
       Although these statutes often refer to the “Attorney General,” those responsibilities were
       transferred to the Department of Homeland Security. See 6 U.S.C. §§ 202, 291, 557.


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   States). This case concerns one method in which that local cooperation can be provided: an
   immigration detainer.
       An immigration detainer is a document that “serves to advise another law enforcement agency
   that [ICE] seeks custody of an alien presently in the custody of that agency, for the purpose of arresting
   and removing the alien,” and it often includes a request for the local agency to cooperate in that effort.
   8 C.F.R. § 287.7.2 Ordinarily, that request asks the local law enforcement agency “to maintain custody
   of [the individual] for a period NOT TO EXCEED 48 HOURS beyond the time when he/she
   would otherwise have been released from [the agency’s] custody to allow DHS to assume custody.”
   D.E. 1 at 28 (emphasis in original). If that request is made, the detainer form—as shown in Ex. C to
   the Complaint—requires the authorized immigration officer to attest that “probable cause exists that
   the subject is a removable alien” and note his or her basis for making that determination. Id.3
       Prior to December 2013, Miami-Dade County honored all such immigration detainers. See id. at ¶
   31 (incorporating by reference Miami-Dade Bd. of Cty. Comm’rs, Resolution R-1008-123 (Dec. 3,
   2013)).4 In December 2013, the Miami-Dade Board of County Commissioners (“County
   Commission”) adopted Resolution No. R-1008-13, which directed the County Mayor to implement a
   new policy whereby the County’s Corrections Department would no longer honor immigration
   detainers received from ICE unless (1) the federal government agreed in writing to reimburse the
   County for all costs relating to compliance with such immigration detainers and (2) the subject inmate



   2
       Pursuant to 8 C.F.R. § 287.7(b), only certain ICE officers are authorized to issue detainers.
       Notably, this class of officers is narrower than the class of officers authorized to serve immigration
       warrants and make arrests. Compare 8 C.F.R. § 287.7(b) with 8 C.F.R. §§ 287.5(c), 287.5(e)(3)-(4).
   3
       Because Mr. Creedle seeks declaratory relief as part of his claims, it is important to note how
       immigration detainers are currently processed. Now, due to an update to ICE’s detainer policy
       that went into effect on April 2, 2017, every immigration detainer must be accompanied by an
       administrative warrant issued by an authorized immigration official. See ICE Policy No. 10074.2:
       Issuance of Immigration Detainers by ICE Immigration Officers (Mar. 24, 2017),
       https://www.ice.gov/detainer-policy.
   4
       Although Mr. Creedle provided a link to the resolution in his Complaint, D.E. 1 at ¶ 31, Miami-
       Dade County has attached a copy (hereinafter “Ex. 1”) to this motion for ease of reference. In
       addition, this exhibit and two other soon-to-be referenced exhibits may be properly considered by
       the Court as part of this Motion to Dismiss. See Brooks v. Blue Cross & Blue Shield of Florida, Inc., 116
       F.3d 1364, 1369 (11th Cir. 1997) (“where the plaintiff refers to certain documents in the complaint
       and those documents are central to the plaintiff’s claim, then the Court may consider the
       documents part of the pleadings for purposes of Rule 12(b)(6) dismissal”)


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   had a previous conviction for a forcible felony or a pending charge of a non-bondable offense. See Ex.
   1 at 5.
       On January 26, 2017, the County Mayor issued a memorandum directing the Corrections
   Department to “honor all immigration detainers received from the Department of Homeland
   Security.” See D.E. 1 at 18. The memorandum also noted that the County Mayor would “partner with
   the Board of County Commissioners to address any issues necessary to achieve this end.” Id. In
   response to the County Mayor’s memorandum, the County Commission called for a special meeting
   on February 17, 2017 and adopted Resolution R-163-17. See id. at ¶ 37 (incorporating by reference
   Miami-Dade Bd. of Cty. Comm’rs, Resolution R-163-17 (Feb. 17, 2013)).5 Resolution R-163-17
   amended the County Commission’s 2013 resolution (R-1008-13) and directed the County Mayor “to
   ensure that, related to immigration detainer requests, Miami-Dade County … cooperat[es] with the
   federal government to the extent permissible by law … [and] continues to require the federal
   government to show probable cause on all immigration detainer requests.”6 Ex. 2 at 6 (emphasis
   added).
       On March 12, 2017, Mr. Creedle was arrested on charges of aggravated battery on a pregnant
   woman, a second degree felony under Fla. Stat. § 784.045. See Docket in Case No. F-17-004932 (Fla.
   11th Cir. Ct. 2017); D.E. 1 at ¶ 45. By the time of Mr. Creedle’s arrest, it had been more than 10 days
   since the County Commission passed Resolution No. R-163-17. Therefore, although the Complaint
   devotes much of its attention to the County Mayor’s January 27, 2017 memorandum, see, e.g., D.E. 1
   at ¶¶ 36-38, 64, 75, the County policy regarding immigration detainers in effect at the time of his arrest
   was actually the Board’s 2017 resolution amending the Board’s 2013 policy and directing the County



   5
       Although Mr. Creedle provided a link to the resolution in his Complaint, D.E. 1 at ¶ 37, Miami-
       Dade County has attached a copy (hereinafter “Ex. 2”) to this motion for ease of reference.
   6
       In his Complaint, Mr. Creedle conveniently omitted the portion of the County Commission’s
       resolution that established, as a matter of County policy, a requirement that the federal government
       show probable cause on an immigration detainer as a condition for the County providing
       cooperation. Compare D.E. 1 at ¶ 37 with Ex. 2 at 6. Unfortunately, that was also not Mr. Creedle’s
       only sin of omission. For example, the copy of the I-247X detainer form provided by Mr. Creedle
       clearly notes in the bottom-right corner that this form is “Page 1 of 3.” D.E. 1 at 28. The exhibit,
       however, is a single page. For matters relevant to this case, the exclusion of the other two pages is
       notable because those pages provide a notice to the detainee in six different languages that “[i]f
       you believe you are a United States citizen …, please advise DHS by calling the ICE Law
       Enforcement Support Center toll free at (855) 448-6903.” A complete copy of a sample I-247X is
       attached (hereinafter “Ex. 3”).


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   Mayor to “cooperate with the federal government to the extent permissible by law … [and] to require
   the federal government to show probable cause on all immigration detainer requests.” See also D.E. 1
   at ¶ 32 (acknowledging that, in the absence of a mayoral veto, a resolution of the County Commission
   “bec[o]mes effective … ten days after its adoption”); Miami-Dade County Home Rule Charter §
   2.02(A) (noting that County Mayor “shall be responsible … for carrying out policies adopted by the
   [County] Commission”).
       While Mr. Creedle was in the County’s custody on local charges, the Corrections Department
   received an immigration detainer from ICE Deportation Officer Alexander Martinez. See D.E. 1 at ¶
   48. The detainer is specifically addressed to the Corrections Department, lists Mr. Creedle as its
   subject, and is signed by Ofr. Martinez. Id. at 28. The detainer also contains two important
   representations from Ofr. Martinez. First, the detainer advises Miami-Dade County that “DHS
   suspects that [Mr. Creedle] is an immigration enforcement priority because … in the judgment of a
   designated senior DHS official, his/her removal would serve an important federal interest.” Id.
   Second, it represents that “[p]robable cause exists that [Mr. Creedle] is a removable alien” and that
   “[t]his determination is based on … biometric confirmation of [Mr. Creedle’s] identity and a records
   check of federal databases that affirmatively indicate, by themselves or in addition to other reliable
   information, that [Mr. Creedle] either lacks immigration status or notwithstanding such status is
   removable under U.S. immigration law.” Id. And, as a result of those factors, the detainer requested
   that Miami-Dade County “maintain custody of [Mr. Creedle] for a period not to exceed 48 hours
   beyond the time when [he] would otherwise have been released from [the County’s] custody to allow
   DHS to assume custody.” Id. Furthermore, there is nothing on the face of the detainer to call into
   question the veracity of Ofr. Martinez’s representations. See generally id.
       On March 13, 2017, Mr. Creedle posted bond on his local charges. D.E. 1 at ¶ 55. However,
   because (1) Miami-Dade County had received an immigration detainer by a federal official authorized
   under 8 C.F.R. § 287.7 to issue such forms; (2) the immigration detainer included a representation by
   that federal official that there was probable cause that Mr. Creedle was a removable alien; (3) federal
   law authorizes Miami-Dade County to “cooperate with [DHS] in the identification, apprehension,
   detention, or removal of aliens not lawfully present in the United States,” 8 U.S.C. § 1357(g)(10); and
   (4) caselaw and statutes recognize that local officials can rely on the representations by fellow officers
   as to probable cause when offering assistance, Miami-Dade County maintained custody of Mr. Creedle
   to allow DHS to assume custody, D.E. 1 at ¶ 57. Then, less than 24 hours after Mr. Creedle posted
   bond on his local charges, “ICE officials interviewed Mr. Creedle and withdrew the detainer request.”


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   Id. at ¶ 60. “After ICE withdrew the detainer request, Mr. Creedle was released on bond.” Id. at ¶ 61.
   Thus, Mr. Creedle was only in Miami-Dade County’s custody when either (1) he was arrested on local
   charges and had not yet posted bond or (2) there was an open request for assistance by the federal
   government and an averment from the federal government that there was probable cause that Mr.
   Creedle was a removable alien.
       In his Complaint, Mr. Creedle asserts the same three claims against Miami-Dade County and the
   County Mayor, in his official capacity: a Fourth Amendment violation under 42 U.S.C. § 1983 (Count
   I); a Fourteenth Amendment violation under 42 U.S.C. § 1983 (Count II); and a state law claim for
   unlawful imprisonment (Count III). See D.E. 1 at 62-78. As to relief, he asks for (1) declaratory relief
   that “Mayor Gimenez’s January 26, 2017 directive on immigration detainers is invalid”; (2) declaratory
   relief that his detention “pursuant to ICE’s immigration detainer violated his Fourth Amendment right
   to be free from unreasonable seizure, violated his substantive due process right under the Fourteenth
   Amendment to be free from false imprisonment, and constituted unlawful imprisonment under
   Florida law”; and (3) compensatory damages, attorneys’ fees, and costs. Id. As explained below, the
   relief that he seeks is improper and the claims that he asserts should be dismissed.




       In this case, Mr. Creedle asks this Court to provide declaratory relief in two ways: (1) “[d]eclare
   Mayor Gimenez’s January 26, 2017 directive on immigration detainers invalid”; and (2) “[d]eclare the
   Defendants’ detention of Mr. Creedle pursuant to ICE’s immigration detainer violated his Fourth
   Amendment right to be free from unreasonable seizure, violated his substantive due process right
   under the Fourteenth Amendment to be free from false imprisonment, and constituted unlawful
   imprisonment under Florida law.” D.E. 1 at 14. However, “declaratory relief may only be issued in
   the case of an ‘actual controversy.’ That is, under the facts alleged, there must be a substantial
   continuing controversy between parties having adverse legal interest.” Emory v. Peeler, 756 F.2d 1547,
   1551 (11th Cir. 1985). Here, there is no “actual controversy” because the facts, as alleged, demonstrate
   that no such “continuing controversy” between Mr. Creedle and Miami-Dade County exists because:
   (1) the Mayor’s directive is not the County’s current operating policy on immigration detainers, see
   D.E. 1 at ¶ 37; (2) a new ICE policy now requires all immigration detainers to not just be supported
   by probable cause but also include an administrative warrant, see supra at fn. 3; (3) Mr. Creedle is not



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   in Miami-Dade’s custody, D.E. 1 at ¶ 61; (4) the detainer request that was issued against him has been
   withdrawn, id. at ¶ 60; (5) there are no allegations that he fears this purported misidentification
   reoccurring; and (6) even if there were, they would be entirely conjectural.
       As a result, Mr. Creedle ostensibly seeks nothing more than a declaration that his constitutional
   rights were previously violated under a policy and set of circumstances that are no longer in effect.
   That is not a proper basis for Mr. Creedle to seek declaratory relief. In fact, the Eleventh Circuit dealt
   with a substantively identical request for declaratory relief in Emory, 756 F.2d 1547, and it was denied.
   There, like here, the plaintiff’s only allegations were “that he ha[d] been injured by [the defendant’s]
   past conduct,” and he made “no factual allegation, however, that such conduct has continued or will
   be repeated in the future.” Id. at 1552. Thus, the Eleventh Circuit affirmed the dismissal of these
   claims and held that “[a] declaration that [defendant’s] past conduct violated [plaintiff’s] constitutional
   rights and [state] law ‘would be nothing more than gratuitous comment without any force or effect.’”
   Id. (quoting Northern Virginia Women's Medical Center v. Balch, 617 F.2d 1045, 1049 (4th Cir. 1980)). See
   also Malowney v. Fed. Collection Deposit Grp., 193 F.3d 1342, 1347 (11th Cir. 1999) (“Thus, in order for
   this Court to have jurisdiction to issue a declaratory judgment, … they must assert a reasonable
   expectation that the injury they have suffered will continue or will be repeated in the future.”); Zinni
   v. ER Solutions, Inc., 692 F.3d 1162, 1166 (11th Cir. 2012) (holding that the case becomes moot “when
   it no longer presents a live controversy with respect to which the court can give meaningful relief”);
   Dudley v. Stewart, 724 F.2d 1493, 1494 (11th Cir.1984) (“Past exposure to illegal conduct does not in
   itself show a pending case or controversy regarding injunctive relief if unaccompanied by any
   continuing, present injury or real and immediate threat of repeated injury.”); Tucker v. Phyfer, 819 F.2d
   1030, 1035 (11th Cir. 1987) (“This argument, which would render any past illegal conduct subject to
   a declaratory judgment, is insupportable because even a favorable ruling would be of no benefit to
   him.”). This Court should treat Mr. Creedle’s request for declaratory relief similarly and grant
   dismissal.



       When distilled to its essence, the crux of Mr. Creedle’s Complaint is that, in his view, Miami-Dade
   County could not maintain custody of him for the federal government based solely on an immigration
   detainer. See generally D.E. 1 at ¶ 69. However, it is undisputed that ICE officials have the authority to
   detain removable aliens, enlist the cooperation of local governments to assist in that function, and,
   specifically, issue immigration detainers to request that assistance. See 8 U.S.C. § 1357, 8 C.F.R. § 287.7.


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   See also Davila v. N. Reg’l Joint Police Bd. (“Davila I”), 979 F. Supp. 2d 612, 635 (W.D. Pa. 2013), opinion
   vacated in part on other grounds, No. 2:13-CV-0070, 2014 WL 3735631 (W.D. Pa. July 28, 2014) (“The
   Court is not aware of, nor is the Plaintiff able to cite to, a case that has held that a local government
   entity’s decision to rely on and comply with this federal regulation to be unconstitutional on its fact,
   and no basis has been advanced to conclude that it was unconstitutional for the Jail to abide by the
   immigration detainer issued here.”). Furthermore, when Miami-Dade County receives a facially valid
   detainer request, the law does not require the County to treat that request with skepticism or doubt.
   On the contrary, Miami-Dade is entitled to rely on ICE’s representations as to probable cause and
   provide the requested assistance even if it is “unaware of the specific facts that established probable
   cause.” United States v. Hensley, 469 U.S. 221, 231 (1985); People v. Xirum, 993 N.Y.S. 2d 627, 631 (N.Y.
   Sup. Ct. 2014) (dismissing claim that copy of actual order of removal had to be provided with detainer
   and holding that “the [Department of Corrections] had the right to rely upon the very federal law
   enforcement agency charged under the law with the identification, apprehension, and removal of
   illegal aliens from the United States”) (internal quotation omitted). In addition, Miami-Dade County
   is also entitled “fill in any gaps in the account with reasonable inferences premised on [the fellow
   officer] acting in a constitutional manner and in good faith.” Wilkerson v. Seymour, 736 F.3d 974, 980
   (11th Cir. 2013). Thus, when presented with a facially valid detainer request, Miami-Dade County is
   entitled to make a reasonable inference that all appropriate procedures were followed and all necessary
   investigation was conducted prior to the federal officer requesting assistance and averring that there
   is probable cause to conclude that the subject is a removable alien.7
       The need to allow for this level of good faith reliance is readily apparent in a jail setting where, in
   its capacity as a jailer, Miami-Dade County must frequently rely upon the representations made by
   officers from municipal, state, and federal agencies who daily bring arrestees to its doors. For that
   reason, precedent in this circuit provides that a jailer is not liable “if [an] error take[s] place outside of
   [its] realm of responsibility” and “[it] has acted reasonably and in good faith” Bryan v. Jones, 530 F.2d




   7
       With specific respect to claims that a potential detainee is a U.S. citizen, Miami-Dade County has
       an even stronger basis to reasonably infer that those issues are thoroughly vetted because ICE has
       a specific procedure for investigating the potential U.S. citizenship of individuals and directs its
       personnel to “not lodge an immigration detainer against or arrest an individual” when there is
       “strong/facially credible or probative evidence of U.S. citizenship.” See ICE Policy No. 16001.2:
       Investigating the Potential U.S. Citizenship of Individuals Encountered by ICE (Nov. 10, 2015),
       https://www.ice.gov/sites/default/files/documents/Document/2017/16001.2.pdf


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   1210, 1215 (5th Cir. 1976).8 See also Davila I, 979 F. Supp. 2d at 635 (“[T]he Plaintiff cites to no authority
   that places a duty on local jails to independently investigate the adequacy of the probable cause
   supporting immigration detainers.”); Dry v. United States, 235 F.3d 1249, 1259 (10th Cir. 2000) (“We
   agree with the district court that absent any objectively apparent lack of a basis for a detention which
   should arouse suspicion, a jailer cannot be expected to assume the mantle of a magistrate to determine
   the probable cause for an arrest.”).
       Here, the purported error that led to Mr. Creedle’s allegedly unlawful detention was a mistaken
   representation by a federal immigration official that there was probable cause to conclude that Mr.
   Creedle was a removable alien. That determination, however, took place outside of Miami-Dade
   County’s realm of responsibility and there was no objectively apparent basis for Miami-Dade County
   to call that determination into question. Accordingly, even under the Mr. Creedle’s version of events,
   Miami-Dade County acted reasonably and in good faith by relying on a facially valid federal detainer
   request and should, therefore, not be liable for any cause of action.




       With respect to his federal claims (Counts I and II), Mr. Creedle has only asserted municipal
   liability claims against Miami-Dade County under 42 U.S.C. § 1983. See D.E. 1 at ¶¶ 62-70. In order
   to properly state such a claim, any plaintiff carries a considerable burden because “[t]he Supreme Court
   has placed strict limitations on [local government] liability under § 1983.” Tennant v. Florida, 111 F.
   Supp. 2d 1326, 1331 (S.D. Fla. 2000). The most critical of those limitation is that local governments
   cannot be held vicariously liable for the actions of their employees when its agents or employees have
   caused a constitutional injury. See Monell v. New York City Dep’t of Social Servs., 436 U.S. 658, 691 (1978)
   (“[W]e conclude that a municipality cannot be held liable solely because it employs a tortfeasor—or,
   in other words, a municipality cannot be held liable under § 1983 on a respondeat superior theory.”);9
   City of Canton v. Harris, 489 U.S. 378, 385 (1989) (“Respondeat superior or vicarious liability will not attach
   under § 1983.”); Grech v. Clayton County, 335 F.3d 1326, 1329 (11th Cir. 2003) (“A county’s liability


   8
       In Bonner v. City of Pritchard, 661 F.2d 1206, 1209 (11th Cir. 1981), the Eleventh Circuit adopted as
       binding precedent all cases decided by the former Fifth Circuit before October 1, 1981.
   9
       Because Monell was the seminal decision that spawned these types of claims, municipal liability
       claims under § 1983 are also frequently referred to as “Monell claims.” In this Motion to Dismiss,
       Miami-Dade County will use both terms interchangeably.


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   under § 1983 may not be based on the doctrine of respondeat superior.”); accord Skop v. City of Atlanta,
   485 F.3d 1130, 1145 (11th Cir. 2007) (“But it is by now axiomatic that in order to be held liable for a
   § 1983 violation, a municipality must be found to have itself caused the constitutional violation at
   issue; it cannot be found liable on a vicarious liability theory.”) (emphasis in original).
       “Given the importance, under § 1983, of distinguishing between direct and vicarious liability, the
   [Supreme] Court repeatedly has stressed the need to find a direct causal connection between municipal
   conduct and the constitutional deprivation.” City of Springfield, Mass. v. Kibbe, 480 U.S. 257, 267 (1987);
   Monell, 436 U.S. at 694; Grech, 335 F.3d at 1329; Cagle v. Sutherland, 334 F.3d 980, 986 (11th Cir. 2003)
   (“[t]o subject a county to liability under section 1983 [a] plaintiff must show that the [claimed]
   constitutional violation occurred as a result of a county policy.”). “It is only when the execution of the
   government’s policy or custom . . . inflicts the injury that the municipality may be held liable under §
   1983.” City of Springfield, 480 U.S. at 267 (internal quotation omitted). Thus, in order to state a § 1983
   claim against Miami-Dade County, Mr. Creedle must allege that the constitutional violations that
   allegedly injured him were the result of either: (1) an officially promulgated County policy; or (2) an
   unofficial custom or practice of the County shown through the repeated acts of a final policymaker
   for Miami-Dade County. See Grech, 335 F.3d at 1329. Because Mr. Creedle’s Complaint is devoted
   exclusively to his isolated incident, Miami-Dade County assumes that he intends to pursue Monell
   liability through the “official promulgated policy” route.
       With “official policy” claims, the Supreme Court has set the bar considerably high and has usually
   found this standard to only be met in rare occurrences when “[t]he causal link between the municipal
   policy and the constitutional violation [is] readily apparent.” Kibbe, 480 U.S. at 267. Monell, itself, is a
   prime example. There, “[t]he gravamen of the complaint was that the Board and the Department had
   as a matter of official policy compelled pregnant employees to take unpaid leaves of absences before
   such leaves were required for medical reasons.” Monell, 436 U.S. at 661. Naturally, when analyzing
   whether such a policy was the moving force behind a constitutional violation, no “evidence [was]
   needed other than a statement of the policy by the municipal corporation, and its exercise.” City of
   Oklahoma City v. Tuttle, 471 U.S. 808, 822-23 (1985) (plurality op.). But Monell is the easy exception to
   an otherwise demanding standard.
       Few cases present such a clear causal connection. Instead, the Supreme Court has been far more
   likely to strike down an “official policy” claim as being too “tenuous,” Kibbe, 480 U.S. at 268, or
   “nebulous” Tuttle, 471 U.S. at 822. The alleged policy in Mr. Creedle’s Complaint merits either term.
   In this case, Mr. Creedle claims that the Mayor’s January 26, 2017 directive is the “official policy” that


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   proximately caused his claimed unlawful detention. D.E. 1 at ¶ 64. See Rheuark v. Shaw, 628 F.2d 297,
   305-06 (5th Cir. 1980) (“In order for a governmental unit to be liable under s 1983, the policy or
   custom must, however, by the very terms of the statute, be a proximate cause of the constitutional
   violation.”). This argument fails for at least three reasons.
       First, the Mayor’s directive was not the relevant County policy when Mr. Creedle was held on the
   immigration detainer. According to his own allegations, the County Commission passed a resolution
   approximately one month prior to Mr. Creedle’s arrest that directed the Mayor “to ensure that, related
   to immigration detainer requests, Miami-Dade County … cooperat[es] with the federal government
   to the extent permissible by law … [and] continues to require the federal government to show
   probable cause on all immigration detainer requests.” Ex. 2 at 6. As a matter of law, the policy enacted
   by the County Commission overrides the Mayor’s directive and is official policy for Miami-Dade
   County. See Citizens for Reform v. Citizens for Open Government, Inc., 931 So.2d 977, 988 (Fla. 3d DCA
   2006) (holding that the County Mayor’s “administrative powers exist to carry out the policies adopted
   by the Commission. Thus, it is clear that the powers of administration must conform to the dictates
   and policies of the County Commission and not vice-versa.”).
       Second, the true proximate cause for any constitutional violation that Mr. Creedle may have
   suffered lies with the alleged error in identifying Mr. Creedle as a removable alien and the subsequent
   issuance of the immigration detainer based on that misidentification. Neither of those events were in
   Miami-Dade County’s control, and, if neither of those events had occurred, Miami-Dade County
   would not have maintained custody of Mr. Creedle on behalf of the federal government.
   Consequently, the “moving force” behind Mr. Creedle’s alleged violation was federal action not
   Miami-Dade County’s policy. See Davila v. United States (“Davila II”), ___ F. Supp. 3d ____, 2017 WL
   1162912, at *8 (W.D. Pa. Mar. 28, 2017) (“[T]he weight of authority demonstrates that a detention
   solely based upon an immigration detained issued at the behest of a federal immigration officer is
   attributable to ICE.”).
       Third, on a more fundamental level, a policy that simply provides that Miami-Dade County will
   “cooperate with the federal government to the extent permissible by law” is not only facially
   constitutional it is also far too general to serve as the proximate cause for any of Mr. Creedle’s alleged
   constitutional violations. If this “policy” were to be a sufficient causal link for Monell liability, then
   there would be no limit to municipal liability because every constitutional violation could be tenuously
   tied back to a policy. See Tuttle, 471 U.S. at 823 (“[S]ome limitation must be placed on establishing
   municipal liability through policies that are not themselves unconstitutional, or the test set out in Monell


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   will become a dead letter. Obviously, if one retreats far enough from a constitutional violation some
   municipal ‘policy’ can be identified behind almost any such harm inflicted by a municipal officer.”);
   Surplus Store & Exch., Inc. v. City of Delphi, 928 F.2d 788, 791–92 (7th Cir. 1991) (“It is difficult to
   imagine a municipal policy more innocuous and constitutionally permissible, and whose causal
   connection to the alleged violation is more attenuated, than the ‘policy’ of enforcing state law. If the
   language and standards from Monell are not to become a dead letter, such a ‘policy’ simply cannot be
   sufficient to ground liability against a municipality.”); City of Springfield, 480 U.S. 257, 267-268 (“In
   some sense, of course, almost any injury inflicted by a municipal agent or employee ultimately can be
   traced to some municipal policy. Finding § 1983's causation requirement satisfied by such a remote
   connection, however, would eviscerate Monell's distinction, based on the language and history of §
   1983, between vicarious liability and liability predicated on the municipality's own constitutional
   violations.”). Simply put Monell liability may only attach to the actions that the policy intended to occur,
   not for the actions that the policy reasonably failed to foresee.




       In addition to establishing that an official policy was the proximate cause for his alleged
   constitutional violation, there is another element that Mr. Creedle must establish in order to state a
   Monell claim: he must show that Miami-Dade County’s policy constituted deliberate indifference to his
   constitutional rights. See City of Canton v. Harris, 489 U.S. 378, 388 (1989). For purposes of municipal
   liability, deliberate indifference has been defined as “a strong likelihood rather than a mere possibility
   that [a constitutional violation] will occur … and will not be found to exist in the face of negligence
   only.” Popham v. City of Talladega, 908 F.2d 1561, 1563 (11th Cir. 1990). By design, that is a high mark
   to reach and Mr. Creedle’s Complaint comes up glaringly short. First, the County’s policy, on its face,
   denotes a concern and desire to avoid even the mere possibility of a constitutional violation.
   Specifically, it directs the County Mayor to cooperate with the federal government to “the extent
   permissible by law and upon a showing of probable cause.” Ex. 2 at 6. Second, the events in the
   Complaint demonstrate that Mr. Creedle was released immediately after interviewing with ICE
   officials and having his detainer withdrawn. See D.E. 1 at ¶ 60. Mr. Creedle also does not allege that
   Miami-Dade County ignored any readily apparent objective information that would have rendered its
   continued reliance on the facially valid detainer form to be unreasonable. Consequently, there is




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   nothing in the Complaint—other than Mr. Creedle’s own conclusory allegations—to support a finding
   that Miami-Dade County was deliberately indifferent to Mr. Creedle’s constitutional rights.




       Ordinarily, 42 U.S.C. § 1983 is the proper vehicle to impose liability on a local government or its
   employees when they are the cause of an alleged constitutional violation. That is so because, when a
   local government or its employees act, they typically do so “under color of [state authority]” and
   thereby satisfy an essential element for a § 1983 claim. However, this case presents a unique
   circumstance because the same federal law that authorizes state and local governments to “otherwise
   cooperate with [DHS] in the identification, apprehension, detention, or removal of aliens not lawfully
   present in the United States” also states that “[a]n officer or employee of a State or political subdivision
   of a State acting under color of authority under this subsection, or any agreement entered into under
   this subsection, shall be considered to be acting under color of Federal authority.” 8 U.S.C. §
   1357(g)(8), (10) (emphasis added). Thus, when Miami-Dade County and its employees provide
   cooperation in the identification, apprehension, and detention of removable aliens through its
   honoring of immigration detainers, it does so under color of federal authority and cannot be liable for
   those actions under § 1983. See 42 U.S.C. § 1983 (requiring that the relevant “deprivation of rights,
   privileges or immunities” occur “under color of any statute, ordinance, regulation, custom, or usage
   of any State or Territory or the District of Colombia”). As a result, the federal claims against Miami-
   Dade County should be dismissed. See Arias v. U.S. Immigration & Customs Enf't Div. of Dep't of Homeland
   Sec., No. CIV. 07-1959 ADMJSM, 2008 WL 1827604, at *13–14 (D. Minn. Apr. 23, 2008) (dismissing
   § 1983 claims based on finding that “Congress's statutory directive in § 1357(g)(8) is clear” and,
   therefore, “the City Defendants were acting under color of federal authority.”); Santos v. Frederick Cty.
   Bd. of Comm'rs., No. L-09-2978, 2010 WL 3385463, at *3 (D. Md. Aug. 25, 2010) (holding that local
   law enforcement officers “were acting under the color of federal law and [could] not be sued under §
   1983” when they cooperated in the enforcement of immigration law even in the absence of a formal
   agreement). Accord Buonocore v. Harris, 65 F.3d 347, 359 (4th Cir. 1995) (quoting district court's
   statement that “because [deputy sheriff] was acting pursuant to federal authority, he took on the rights
   and obligations of a federal officer”); Askew v. Bloemker, 548 F.2d 673, 677 (7th Cir. 1976) (stating that
   “the mere assertion that one is a state officer does not necessarily mean that one is acting under color
   of state law”).



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        In his Complaint, Mr. Creedle asserts a state law claim of false imprisonment against Miami-Dade
   County. See D.E. 1 at ¶¶ 71-78. To state a cause of action for false imprisonment, the plaintiff must
   establish four elements: “1) the unlawful detention and deprivation of liberty of a person 2) against
   that person's will 3) without legal authority or ‘color of authority’ and 4) which is unreasonable and
   unwarranted under the circumstances.” Harder v. Edwards, 174 So. 3d 524, 530 (Fla. 4th DCA 2015)
   (quoting Montejo v. Martin Mem'l Med. Ctr., Inc., 935 So.2d 1266, 1268 (Fla. 4th DCA 2006)). Mr. Creedle
   attempts to satisfy these elements by alleging that (1) “Defendants lacked a warrant to detain him and
   had no authority to make a warrantless arrest” and (2) “Defendants were not empowered under
   Florida law or any other authority to detain Mr. Creedle based on a civil immigration detainer.” Id. at
   ¶¶ 69, 72. However, in drawing this conclusion, Mr. Creedle ignores the statutes and precedent that
   doom his assertion.
        Even under Mr. Creedle’s own allegations, Miami-Dade County had the requisite “legal authority
   or ‘color of authority’” to cooperate with federal immigration officials and maintain custody of him
   for a brief period so as to allow DHS to assume custody. To wit, the immigration detainer, which Mr.
   Creedle attached to his Complaint, see D.E. 1 at 28, provides Miami-Dade County with all the necessary
   legal authority or color of authority to defeat this claim. That legal authority is doubly backed by both
   federal and state law.
        Looking first to federal law, ICE has the authority to arrest and detain aliens prior to removal. See,
   e.g., 8 U.S.C. §§ 1226, 1231, 1357. Under the corresponding federal regulations, Ofr. Martinez was
   authorized to issue detainer forms and request assistance from Miami-Dade County in the execution
   of those duties. See 8 C.F.R. § 287.7. And, under those same federal laws, Miami-Dade County is not
   only authorized to provide the requested cooperation; it is to be treated as “acting under color of
   Federal authority” when it does. 8 U.S.C. § 1357(g)(8). See also Ricketts v. Palm Beach County Sheriff, 985
   So.2d 591, 593 (Fla. 4th DCA 2008) (stating that when an inmate subject to a detainer request “posts
   bond … he will be released from state custody and then booked on [a] federal immigration detainer”


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        Although Mr. Creedle has styled this cause of action as one for “unlawful imprisonment,” this
        claim is more often referred to as a claim for “false imprisonment,” even in the cases cited in his
        Complaint. See, e.g., City of Hialeah v. Rehm, 455 So.2d 458 (Fla. 3d DCA 1984). To avoid any
        confusion between the language in these opinions and the analysis in this motion, Miami-Dade
        County will refer to Count III as one for “false imprisonment.”


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   whereby “the sheriff will not be holding [him] pursuant to state authority but pursuant to federal
   authority”). Thus, there was certainly requisite authority under federal law for Miami-Dade County to
   honor a facially valid immigration detainer averring that there was probable cause that Mr. Creedle
   was a removable alien.
        Now, turning to state law, Mr. Creedle incorrectly asserts that Miami-Dade County’s potential
   liability under state tort law rises or falls depending on whether its offer of assistance was authorized
   under Fla. Stat. § 901.15, D.E. 1 at ¶ 72. That statute simply provides the circumstances under which
   a law enforcement officer may conduct a warrantless arrest for a state crime. See Fla. Stat. § 901.15. It
   does not, however, govern how (and under what circumstances) a jailer may offer assistance to federal
   immigration officials in the performance of their duties. For that question, there are two statutes of
   note. First, Florida law expressly provides for County jails to detain individuals on behalf of the federal
   government. Fla. Stat. § 950.03 states:
        The keeper of the jail in each county within this state shall receive into his or her custody
        any prisoner who may be committed to the keeper’s charge under the authority of the
        United States and shall safely keep each prisoner according to the warrant or precept for such
        commitment until he or she is discharged by due course of law of the United States.

   (emphasis added). In this case, the immigration detainer provided to Miami-Dade County by Ofr.
   Martinez requested that the County maintain custody of Mr. Creedle, who was already in its charge,
   under the authority of the United States for a period not to exceed 48 hours and, when ICE withdrew
   the detainer before that time period expired, Mr. Creedle was released. See D.E. 1 at ¶¶ 60-61. These
   allegations are perfectly in line with the requirements under Fla. Stat. § 950.03. Second, as a more
   general matter, Florida law not only allows for assistance to be provided to law enforcement officers
   when arresting subjects, it also immunizes those who offer assistance from civil liability. See Fla. Stat.
   § 901.18 (“A person commanded to aid a peace officer … shall not be civilly liable for any reasonable
   conduct in rendering assistance.”).11 Here, all that Mr. Creedle has alleged is that Miami-Dade County
   engaged in reasonable conduct to render assistance to DHS based upon their representations that (1)



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        There is at least one federal analogue to this state statute. 19 U.S.C. § 507 provides: “Any person
        other than an officer or employee of the United States who renders assistance in good faith upon
        the request of a customs officer shall not be held liable for any civil damage as a result of rendering
        of such assistance if the assisting person acts as an ordinary, reasonably prudent person would
        have acted under the same or similar circumstances.” See also Gonzales v. FedEx Ground Package
        System, Inc., Case No. 12-cv-80125, 2013 WL 12080223 (S.D. Fla. Aug. 1, 2013) (applying immunity
        under 19 U.S.C. § 507 to assistance provided to ICE during an “immigration raid”)


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   “[p]robable cause exists to conclude that [Mr. Creedle] is a removable alien” and that (2) Mr. Creedle
   “is an immigration enforcement priority because …in the judgment of a designated senior DHS
   official, [his] removal would serve an important federal interest.” D.E. 1 at 28. As a result, the
   immunity from civil liability provided under Fla. Stat. § 901.18 applies.
        To the extent that Mr. Creedle argues that this conduct could not have been reasonable because,
   ultimately, it allegedly led to the accidental detention of a U.S. citizen, that argument does not find
   support under prevailing precedent. In fact, when confronted with this scenario, state courts have held
   that a jailer is entitled to rely upon the document provided by the official initiating the seizure and
   accept it as valid provided that the document is “regular on [its] face and issued by a legal body having
   authority to issue [them].” Andrews v. Florida Parole Comm'n, 768 So. 2d 1257, 1263 (Fla. 1st DCA 2000).
   Here, neither of those factors are in dispute and, therefore, the state law claim for false imprisonment
   should be dismissed.



        Mr. Creedle alleges that he was unlawfully detained pursuant to an immigration detainer issued by
   a federal immigration official that mistakenly took him for a removable alien when he is, in fact, a US
   citizen. See D.E. 1 at ¶ 1. That immigration detainer was issued, and can only be issued, by an
   authorized federal official. When a local government, such as Miami-Dade County, agrees to honor
   the detainer’s request, federal law provides that the local government’s actions are “subject to the
   direction and supervision of [DHS]” and the local government is “considered to be acting under color
   of Federal authority.” 8 U.S.C. § 1357(g)(3), (8). In short, federal law requires that the claims underlying
   this case center on federal action rather than a county policy.
        Nevertheless, Mr. Creedle brought no claims against the federal parties in interest and exclusively
   asserted claims against Miami-Dade County that challenge its policy of cooperating with federal
   officials on immigration detainers to the extent consistent with the law and upon a showing of
   probable cause. Because the claims brought by Mr. Creedle originate from and center on federal action
   by federal parties this case may not proceed without the presence of the federal officials.12




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        Prior to filing this motion, undersigned counsel conferred with counsel for Mr. Creedle and asked
        if they would be amenable to amending the complaint to include a federal defendant in this suit.
        That request was respectfully rejected.


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       Under Fed. R. Civ. P. 12(b)(7), a complaint should be dismissed when it “fail[s] to join a party
   under Rule 19.” Under Rule 19:
       A person who is subject to service of process … must be joined as a party if: (A) in that
       person’s absence, the court cannot accord complete relief among existing parties; or (B) that
       person claims an interest relating to the subject of the action and is so situated that disposing
       of the action in the person’s absence may: (i) as a practical matter impair or impede the person’s
       ability to protect the interest; or (ii) leave an existing party subject to a substantial risk of
       incurring double, multiple, or otherwise inconsistent obligations because of the interest.

   When deciding whether Rule 19 applies in a given case, “the court must [first] ascertain … whether
   the person in question is one who should be joined if feasible.” Challenge Homes Inc. v. Greater Naples
   Care Ctr., Inc., 669 F.2d 667, 669 (11th Cir. 1982). And, it is “pragmatic concerns, especially the effect
   on the parties and the litigation [that] control this analysis.” Fla. Wildlife Federation, Inc. v. United States
   Army Corps of Engineers, 859 F.3d 1306, 1316 (quoting Focus on the Family v. Pinellas Suncoast Transit Auth.,
   344 F.3d 1263, 1279-80 (11th Cir. 2003)).
       Here, Mr. Creedle seeks to hold Miami-Dade County—and no one else—liable for compensatory
   damages based upon an alleged misidentification by a federal official. The pragmatic concerns with
   this proceeding without such federal official are threefold. First, it may hinder the court’s ability to
   “accord complete relief” because the proximate cause for the alleged harm is not in the litigation. Fed.
   R. Civ. P. 19. Second, it could leave Miami-Dade County “subject to a substantial risk of incurring
   double, multiple, or otherwise inconsistent obligations” because it is currently the sole defendant even
   though it was acting under the authority and subject to the direction of a non-party. Id. Third, the
   individual with the best knowledge as to the basis for the detainer’s probable cause determination—
   Ofr. Martinez—is currently a non-party and, therefore, Miami-Dade County’s ability to provide a
   defense would be prejudiced.
       Similarly, Mr. Creedle’s request for declaratory relief, if it were granted notwithstanding its
   mootness, would potentially compromise the cooperation between Miami-Dade County and the
   federal government on immigration detainers without any input from the federal government even
   though such cooperation “is an important feature of the immigration system,” Arizona, 567 U.S. at
   411. See Fla. Wildlife Federation, Inc., 859 F.3d at 1317 (finding party to be indispensable because “any
   adjudication of the Corps’s liability or the scope of its authority has the potential to carve a jagged line
   through the cooperative arrangements that the Corps and the Water District use to implement the
   Project”); Carlson v. Tulalip Tribes of Washington, 510 F.2d 1337, 1339 (9th Cir. 1975) (“When an interest
   of the federal government is involved in a suit and a judgment cannot be rendered without affecting



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   that interest, the government must be made a party to the action.”). Based on Mr. Creedle’s allegations,
   resolution of that issue may require this Court to resolve matters pertaining to the constitutionality of
   immigration detainers writ large and, if so, the federal government would be unquestionably aggrieved
   by any ruling without being a party to the suit or even, at a minimum, being provided the requisite
   notice under Fed. R. Civ. P. 5.1.13
        For all these reasons, this Court should find that the federal official issuing the detainer and the
   United States are required parties under Rule 19(a) and this Court should either (1) dismiss this matter
   without prejudice and grant Mr. Creedle leave to include the proper, necessary parties in an amended
   complaint, or (2) order that these required parties be joined in this matter under Fed. R. Civ. P.
   19(a)(2).




        It is axiomatic that “[w]hen an officer is sued under Section 1983 in his or her official capacity, the
   suit is simply another way of pleading an action against an entity of which an officer is an agent. ....
   Such suits against municipal officers are therefore, in actuality, suits directly against the city that the
   officer represents.” Busby v. City of Orlando, 931 F.2d 764, 776 (11th Cir. 1991) (footnote, citations, and
   internal marks omitted). See also Will v. Michigan Dep't of State Police, 491 U.S. 58, 71 (1989); Penley v.
   Eslinger 605 F.3d 843, 854 (11th Cir. 2010) (“Official-capacity suits ... generally represent only another
   way of pleading an action against an entity of which an officer is an agent.”) (citation omitted); Snow
   ex rel. Snow v. City of Citronelle, AL, 420 F.3d 1262, 1270 (11th Cir. 2005) (similar). Nevertheless, Mr.
   Creedle has named the same defendant twice in his Complaint: once as Miami-Dade County and once
   again as Carlos A. Gimenez, in his official capacity as Mayor of Miami-Dade County. See D.E. 1 at ¶¶
   7-9. Mr. Creedle raised the exact same allegations and asserted the exact same three causes of action
   against either of these named defendants. See id. at ¶¶ 62-78. The reason no unique claim against either
   defendant exists is simple: Miami-Dade County and Mayor Gimenez, in his official capacity, are, as a
   matter of law, the same entity.
        When confronted with similar situations, courts in this Circuit have routinely deemed suits against
   both a local government official in his official capacity and the entity of which the officer is an agent


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        These concerns are further exemplified by the federal government’s recent filing in this matter
        where it states that it “may have an interest in [this] litigation” and will “consider filing an
        appropriate pleading.” D.E. 9 at 2.


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   to be redundant, and dismissed the official-capacity claims against the individual defendant on that
   basis. See, e.g., Abusaid v. Hillsborough County Bd. of County Com'rs, 405 F.3d 1298, 1302 n. 3 (11th Cir.
   2005) (explaining that where plaintiff named county and county fire marshal in his official capacity as
   separate defendants, only the fire marshal's employer—the county—was proper party); Busby, 931
   F.2d at 776 (“To keep both the City and the officers sued in their official capacity as defendants in
   this case would have been redundant and possibly confusing to the jury.”).14 Thus, although Mr.
   Creedle seeks to treat Miami-Dade County and Mayor Gimenez as two separate defendants, caselaw
   commands that this Court do otherwise and dismiss the claims against Mayor Gimenez as redundant.




        Accordingly, the claims against Miami-Dade County and Mayor Carlos Gimenez, in his official
   capacity, should be dismissed with prejudice pursuant to Fed. R. Civ. P. 12(b)(6).


   Dated: July 25, 2017                               Respectfully submitted,

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        State courts evaluating state law claims have given similar treatment to this form of redundant
        pleading. See, e.g., DeArmas v. Ross, 680 So.2d 1130, 1131-32 (Fla. 3d DCA 1996).


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       I hereby certify that a true and correct copy of the foregoing was served on August 18, 2017 on
   all counsel or parties of record in the manner indicated on the Service List below.


                                                      /s/ Michael B. Valdes
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